
PER CURIAM.
This is an appeal from a judgment of conviction and sentence entered by the Circuit Court for Putnam County, Florida. The public defender filed an Anders1 motion and brief, requesting leave to withdraw as counsel for appellant and representing to this court that no reversible error appears. On June 9, 1980, the Fifth District Court of Appeal gave the appellant thirty (30) days within which to file a brief in his own behalf. No such brief has been filed. This court has reviewed the Anders brief and the record herein, and no reversible error appears. The motion of the public defender to withdraw is granted and.the judgment arid sentence are hereby
AFFIRMED.
DAUKSCH, C. J., and COBB and UP-CHURCH, JJ., concur.

. Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967).

